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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

  JOHN DOE,

                               Plaintiff,

                      -against-                              STIPULATION OF DISMISSAL
                                                                  WITH PREJUDICE
  HOFSTRA UNIVERSITY; LYNDA O’MALLEY,
  individually and as agent for Hofstra University;             Case No. 2:19-cv-02064
  ROBERT K. MCDONALD, individually and as agent
  for Hofstra University; ALLISON G. VERNACE,
  individually and as agent for Hofstra University; and
  HEATHER A. DEPIERRO, individually and as agent
  for Hofstra University,

                               Defendants.


         IT IS HEREBY STIPULATED AND AGREED, pursuant to the Federal Rules of
 Civil Procedure, that all claims in this action by and between the undersigned parties to
 the above-entitled action, that whereas no party hereto is an infant, incompetent person
 for whom a committee has been appointed or conservatee, and no person not a party
 has an interest in the subject matter of the action, the above-entitled action be, and the
 same hereby is discontinued as between all parties, and all claims herein are dismissed
 with prejudice, without interest, costs, attorneys’ fees, expenses or disbursements to
 any party as against the other.

 Dated: April 29, 2020


  NESENOFF & MILTENBERG, LLP                   BOND, SCHOENECK & KING, PLLC

  By: s/ Adrienne Levy, Esq.                   By: s/ Laura H. Harshbarger, Esq.
     Adrienne Levy, Esq.                           Laura H. Harshbarger, Esq.
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 SO ORDERED:


                                       __
 Hon. Joan M. Azrack
 United States District Court Judge




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                                CERTIFICATE OF SERVICE


        I hereby certify that on April 29, 2020, the foregoing Stipulation of Dismissal With

 Prejudice was electronically filed with the Clerk of the United States District Court for the

 Eastern District of New York, using the CM/ECF system, which sent notification of such

 filing to the following:

                                   Adrienne Levy, Esq.
                                Nesenoff & Miltenberg, LLP
                                   Attorneys for Plaintiff
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                                   New York, NY 10001
                                   alevy@nmllplaw.com


                                                    s/ Laura H. Harshbarger
                                                          Laura H. Harshbarger




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